          Case 3:15-cr-01361-JLS                   Document 79         Filed 11/04/15           PageID.237        Page 1 of 5

AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                    v.                                 (For Offenses Committed On or After November I, 1987)
             MIRIAM WARDA KASKORKIS (1)                                                                              117
                                                                          Case Number:         lSCR1361-JLS

                                                                       GERARD JEFFREY WASSON
                                                                       Defendant's Attorney
REGISTRATION NO.                    49860298

0­
IEl    pleaded guilty to count(s)          1 of the Information

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s}:
                                                                                                                        Count
Title & Section                      Nature of Offense                                                                 Number(s)
18 USC 2113(a) and 2                     Bank larceny and aiding and abetting                                             1




    The defendant is sentenced as provided in pages 2 through                     5           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                                        is         dismissed on the motion of the United States.

 IEl   Assessment: $100.00 imposed



 IZl No fine                  Forfeiture pursuant to order filed                                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                        November 4.2015
                                                                          te ofImposition of Sentence




                                                                                                                       15CR1361-JLS
        Case 3:15-cr-01361-JLS            Document 79       Filed 11/04/15       PageID.238        Page 2 of 5

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                 MIRIAM WARDA KASKORKIS (I)                                              Judgment - Page 2 of 5
CASE NUMBER:               15CR 1361-JLS

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Time Served




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o      The court makes the following recommendations to the Bureau of Prisons:




 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
        o    at                            A.M.               on
        o
                -----------------
             as notified by the United States MarshaL
                                                                   ------------------------------------
        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o    on or before
        o    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                 -------------------------- to ------------------------------
 at
      ----------------------- , with a certified copy of this judgment.

                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                         15CR1361-JLS
              Case 3:15-cr-01361-JLS                 Document 79             Filed 11/04/15            PageID.239            Page 3 of 5

    AO 2458 (CASD Rev. 08113) Judgment in a Criminal Case

    DEFENDANT:                   MIRIAM WARDA KASKORKIS (1)                                                                  Judgment - Page 3 of 5
    CASE NUMBER:                 ISCRI361-JLS

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Tbree (3) years


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



                                                                                                                                     15CR1361-JLS
       Case 3:15-cr-01361-JLS          Document 79        Filed 11/04/15      PageID.240       Page 4 of 5

AO 245B (CASD Rev. 08/l3) Judgment in a Criminal Case

DEFENDANT:             MIRIAM WARDA KASKORKIS (1)                                             Judgment - Page 4 of 5
CASE NUMBER:           15CR1361-JLS

                                SPECIAL CONDITIONS OF SUPERVISION

Submit person, property, residence, office or vehicle to ~search, conducted by a United States Probation Officer
at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
violation of a condition ofrelease; failure to submit to a search may be grounds for revocation; the defendant shall
warn any other residents that the premises may be subject to searches pursuant to this condition.

Report vehicles owned or operated, or in which you have an interest, to the probation officer.

Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and
counseling, as directed by the probation officer. Allow for reciprocal release ofinfonnation between the probation
officer and the treatment provider. May be required to contribute to the costs of services rendered in an amount
to be detennined by the probation officer, based on ability to pay.

NotifY any employers in which her job includes a fiduciary responsibility of her conviction in the instant offense.

NotifY the Collections Unit, U.S. Attorney's Office, of any interest in property obtained, directly or indirectly,
including any interest obtained under any other name, entity, including a trust, partnership, or corporation, until
restitution is paid in full.

NotifY the Collections Unit, U.S. Attorney's Office, before transferring any interest in any property owned
directly or indirectly by the defendant, including any interest held or owned under any other name or entity,
including trusts, partnerships, or corporations, until restitution is paid in full.

Be monitored for a period of90 days, with the location monitoring technology at the discretion of the probation
officer. The offender shall abide by all technology requirements and shall pay all or part of the costs of
participation in the location monitoring program, as directed by the court and/or the probation officer. In
addition to other court-imposed conditions of release, the offender's movement in the community shall be
restricted as specified below:

       You are restricted to your residence at all times except for employment; education; religious services;
       medical, substance abuse, or mental health treatment; attorney visits; court appearances; court­
       ordered obligations; or other activities as pre-approved by the probation officer. (Home Detention)




                                                                                                    15CR1361-JLS
        Case 3:15-cr-01361-JLS         Document 79        Filed 11/04/15      PageID.241       Page 5 of 5

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:             MIRIAM WARDA KASKORKIS (1)                                              Judgment - Page 5 of 5
CASE NUMBER:           15CR1361·JLS




                                            RESTITUTION

The defendant shall pay restitution in the amount of    $5,505.00             unto the United States of America.




This sum shall be paid as follows:

Pay restitution in the amount of $5,505.00 to U.S. Bank through the Clerk, U.S. District Court. Payment of
restitution shall be forthwith. During any period of incarceration, the defendant shall pay restitution through the
Inmate Financial Responsibility Program at the rate of 50% ofthe defendant's income, or $25.00 per quarter,
whichever is greater. The defendant shall pay the restitution during her supervised release at the rate of $1 00.00
per month. These payment schedules do not foreclose the United States from exercising all legal actions,
remedies, and process available to it to collect the restitution judgment.

Defendant shall be jointly and severally liable to pay restitution with co-defendants/co-conspirators for the
same losses. The presently known co-defendantlco-conspirator is Lorens Rafou.

Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States
Attorney's Office of any change in the defendant's mailing or residence address, no later than thirty (30) days
after the change occurs.

VICTIM'S ADDRESS
U.S. Bank
4195 Genesee Avenue
San Diego, CA 9211




                                                                                                    15CR1361-JLS
